     2AO 245C (Rev. Case    2:06-cr-00234-RHW-GWF
                    ) Amended Judgment in a Criminal Case               Document 740              Filed 01/21/15(NOTE:Page
                                                                                                                            Identify1Changes
                                                                                                                                      of 6 with Asterisks (*))
                     Sheet 1


                                                 UNITED STATES DISTRICT COURT
                                                                             District of                                      Nevada

                UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                     V.
                                                                                      Case Number: 2:06-CR-234 PMP-LRL-2
                JONATHON TOLIVER aka/K-Boose
                                                                                      USM Number: 39518-048
     Date of Original Judgment:                7/10/2008                              NATMAN SCHAYE
     (Or Date of Last Amended Judgment)                                               Defendant’s Attorney

     Reason for Amendment:
     G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
     G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
         P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
     G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
     G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                      ✔Direct Motion to District Court Pursuant G
                                                                                      G                                           ✔28 U.S.C. § 2255 or
                                                                                        G 18 U.S.C. § 3559(c)(7)
                                                                                      G Modification of Restitution Order (18 U.S.C. § 3664)
     THE DEFENDANT:
   ✔ pleaded guilty to count(s)
** G                                        1, 2, 4, 5, 22, 23, 24, 26, 27, 28, 29, and 31 of Superseding Indictment
     G pleaded nolo contendere to count(s)
       which was accepted by the court.
   G was found guilty on count(s) 1, 2, 4, 5, 22, 23, 24, 26, 27, 28, 29, and 31 of Superseding Indictment
** XX
       after a plea of not guilty.
   The defendant is adjudicated guilty of these offenses:
     Title & Section                      Nature of Offense                                                             Offense Ended                 Count
**    18 USC § 1959                        Violent Crime in Aid of Racketeering - Murder                                  9/13/2004                1,4,22-24,26
                                                                                                                                                       1,4,22,23,

**    18 USC § 924(c)                      Use of a Firearm During a Crime of Violence                                    9/13/2004                2,5,27-29,31
                                                                                                                                                      2,5,27,28


            The defendant is sentenced as provided in pages 2 through             6    5         of this judgment. The sentence is imposed pursuant to
     the Sentencing Reform Act of 1984.
   G The defendant has been found not guilty on count(s)
   ✔ Count(s) 7-16, 25 and 30
** G                                                     ✔are dismissed on the motion of the United States.
                                                    G is G
              It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
     the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                      1/21/2015
                                                                                     Date of Imposition of Judgment


                                                                                      Signature of Judge
                                                                                      PHILIP M. PRO                                   U.S. District Judge
                                                                                      Name of Judge                                   Title of Judge
                                                                                      1/21/2015
                                                                                      Date
    AO 245C     Case
               (Rev.     2:06-cr-00234-RHW-GWF
                     ) Amended Judgment in a Criminal Case   Document 740            Filed 01/21/15          Page 2 of 6
               Sheet 2 — Imprisonment                                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                                                                6
                                                                                                         Judgment — Page       2     of         5
    DEFENDANT: JONATHON TOLIVER aka/K-Boose
    CASE NUMBER: 2:06-CR-234 PMP-LRL-2
 **                                                  IMPRISONMENT
The defendant is hereby committed to the custody         IMPRISONMENT
                                                              of the United States Bureau of Prisons to be imprisoned
for a total term of:
LIFE onThe      defendant
             Count        is hereby on
                    1; 2 YEARS      committed
                                       each oftoCounts
                                                 the custody of the Unitedand
                                                          2,4,22,23,24     States
                                                                               26,Bureau  of Prisons
                                                                                   concurrent        to each
                                                                                                  with  be imprisoned
                                                                                                              other andfor aCount 1;
      total termon
10 YEARS         of Count 5 consecutive to the sentence imposed on Counts 1,2,4,22,23,24 and 26; 10 YEARS on
Count
    LIFE 27   consecutive
          on Count           to the
                    1; 2 YEARS       sentence
                                 on each       imposed
                                         of Counts         on Counts
                                                   2,4,22,23,24  and 26,1,2,4,22,23,24,26
                                                                         concurrent with each and
                                                                                               other5; 10Count
                                                                                                     and   YEARS1; 10 on  Count
                                                                                                                      YEARS   on 28
consecutive      to the sentence
    Count 5 consecutive              imposed
                          to the sentence     on Counts
                                          imposed  on Counts1,2,4,22,23,24,26,5,
                                                             1,2,4,22,23,24 and 26; and    27; 10onYEARS
                                                                                     10 YEARS        Count 27on  Count 29to the
                                                                                                              consecutive
    sentence imposed
consecutive      to theon  Counts 1,2,4,22,23,24,26,
                         sentence                    and 5; 1,2,4,22,23,24,26,5,27
                                     imposed on Counts      10 YEARS on Count 28 consecutive
                                                                                        and 28;to10theYEARS
                                                                                                         sentenceon
                                                                                                                  imposed
                                                                                                                    Counton  31C
consecutive to the sentence imposed on Counts 1,2,4,22,23,24,26,5,27,28 and 29, with credit for time served.
    ✔ The court makes the following recommendations to the Bureau of Prisons:
    G
   The defendant be incarcerated in a facility in Southern California, Arizona, or as near to Las Vegas, Nevada as can be
   designated.


    ✔ The defendant is remanded to the custody of the United States Marshal.
    G

    G The defendant shall surrender to the United States Marshal for this district:
         G     at                                     G     a.m   G     p.m.        on                                     .

         G     as notified by the United States Marshal.

    G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         G     before 12:00  p.m.
                      2 p.m. on                                            .

         G     as notified by the United States Marshal.

         G     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
    I have executed this judgment as follows:




         Defendant delivered on                                                          to

    at                                                      with a certified copy of this judgment.




                                                                                                      UNITED STATES MARSHAL


                                                                               By
                                                                                                DEPUTY UNITED STATES MARSHAL
                   Case 2:06-cr-00234-RHW-GWF                            Document 740               Filed 01/21/15             Page 3 of 6
     AO 245C      (Rev. ) Amended Judgment in a Criminal Case
                  Sheet 3 — Supervised Release                                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                     Judgment—Page        3      of        65
     DEFENDANT: JONATHON TOLIVER aka/K-Boose
     CASE NUMBER: 2:06-CR-234 PMP-LRL-2
                                                              SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of

** FIVE (5) YEARS as to Counts 2, 4, 5, 22, 23, 24, 26, 27, 28, 29 and 31


              The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
     the custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state, or local crime.
    The
     TheDefendant
           defendantshall notnot
                       shall   unlawfully possess
                                  unlawfully       a controlled
                                               possess          substance.
                                                        a controlled       The defendant
                                                                      substance.         shall refrain
                                                                                   The defendant       from
                                                                                                    shall    any unlawful
                                                                                                           refrain from anyuseunlawful
                                                                                                                                of a controlled
                                                                                                                                          use ofsubstance. The
                                                                                                                                                  a controlled
    defendant
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drugthe
               shall submit  to one drug test within 15 days  of placement on probation and at least two  periodic drug tests thereafter, as determined by  tests
     thereafter,
    court,        as determined
           not to exceed  104 testsby the court.
                                    annually. Revocation is mandatory for refusal to comply.

     G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
     ✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
     G
     ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
     G
     G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
            student, as directed by the probation officer. (Check, if applicable.)
     G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
     the Schedule of Payments sheet of this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
     conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
             a felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
             any contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
             record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
             defendant’s compliance with such notification requirement.
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AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 3C — Supervised Release                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                              Judgment—Page      4       of         6
                                                                                                                                    5
DEFENDANT: JONATHON TOLIVER aka/K-Boose
CASE NUMBER: 2:06-CR-234 PMP-LRL-2

                                       SPECIAL CONDITIONS OF SUPERVISION
1. You shall not possess, have under your control, or have access to any firearm, explosive device, or other dangerous
weapons, as defined by federal, state, or local law.

2. You shall submit your person, property, residence, place of business and vehicle under your control to a search,
conducted by the United States Probation Officer or any authorized person under the immediate and personal supervision
of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
or evidence of a violation of a condition of supervision; failure to submit to a search may be grounds for revocation; the
defendant shall inform any other residents that the premises may be subject to a search pursuant to this condition.

3. You shall use your true name at all times and will be prohibited from the use of any aliases, false dates of birth, social
security numbers, places of birth, and any other pertinent demographic information.

4. You shall report, in person, to the probation office in the district to which you are released within 72 hours of discharge
from custody.




      ACKNOWLEDGEMENT


      Upon finding of a violation of probation or supervised release, I understand that the court may
      (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
      supervision.

      These conditions have been read to me. I fully understand the conditions and have been provided
      a copy of them.


      (Signed)          _________________________                         ______________________
                        Defendant                                         Date


                      ___________________________                         _______________________
                      U.S. Probation/Designated Witness                   Date
            Case 2:06-cr-00234-RHW-GWF                           Document 740             Filed 01/21/15        Page 5 of 6
AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                    Judgment — Page     54     of           65
DEFENDANT: JONATHON TOLIVER aka/K-Boose
CASE NUMBER: 2:06-CR-234 PMP-LRL-2
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                         Fine                              Restitution
TOTALS **        $ 1,200.00                                          $ 0.00                            $ 0.00


G The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                    Total Loss*                Restitution Ordered       Priority or Percentage




TOTALS                                                           $      43,300.00            $      43,300.00

G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for           G fine        G restitution.
     G the interest requirement for            G     fine     G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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     AO 245C     (Rev. ) Amended Judgment in a Criminal Case
                 Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                            Judgment — Page     6        of        65
     DEFENDANT: JONATHON TOLIVER aka/K-Boose
     CASE NUMBER: 2:06-CR-234 PMP-LRL-2

                                                         SCHEDULE OF PAYMENTS

     Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

**   A    ✔ Lump sum payment of $ 1,200.00
          G                                                         due immediately, balance due

               G not later than                                        , or
               G in accordance with G C, G D, G                        E, or   G F below; or
     B    G Payment to begin immediately (may be combined with G C,                      G D, or     G F below); or
     C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                              (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

     D    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                            (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

     E    G Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

     F    G Special instructions regarding the payment of criminal monetary penalties:




     Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
     during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
     Inmate Financial Responsibility Program, are made to the clerk of the court.

     The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     G    Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
          corresponding payee, if appropriate.




     G    The defendant shall pay the cost of prosecution.

     G    The defendant shall pay the following court cost(s):

     G    The defendant shall forfeit the defendant’s interest in the following property to the United States:



     Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
     (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
